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Case 3:23-cv-00340 Document 56-21 Filed 03/13/24 Page 1 of 3 PagelD #: 889

Case 1:13-cv-00110-JHM-HBB. Document 37-2 Filed 12/16/13 Page.3 of .33.PagelD #: 773

Case 1:13-cv-00159-JHM-HBB Document 7-1 Filed 09/26/13 Page 1 of 1 PagelD #: 36
Case 1:12-tv-00052-JHM-LLK Document 140-6 Filed 04/08/13 Page 1 of 1 PagelD Fo

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Case 3:23-cv-00340 Document 56-21- Filed 03/13/24 Page 2 of 3 PagelD #: 890

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Case 3:23-cv-00340 Document 56-21 Filed 03/13/24 Page 3 of 3 PagelD #: 891

